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 Fill in this information to identify the case:

 United Stales Bankruptcy Court for the:
  Southern                 District of   New York
                                         {Stale)

 Case number of known)                                          Chapter 7                                                                   ❑ Check if this is an
                                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04119

If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non•Indivlduals, Is available.



1. Debtor's name                              Art Fashion Corporation


2. All other names debtor used
                                              dba Roberto Cavalli
   in the last 8 years
   include any assumed names,
   trade names, and doing business
   as names



3. Debtor's federal Employer                   1 3        _   3 9 5           9 2 6
   Identification Number (EIN)



4. Debtor's address                          Principal place of business                                  Mailing address, if different from principal place
                                                                                                          of business

                                              545             Madison Avenue
                                             Number           Street                                      Number       Street

                                              17th Floor
                                                                                                          P.O. Box

                                              New York                         NY       10022
                                             C Hy                              State     ZIP Code         City                          State         ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              New York
                                             County
                                                                                                          Number       Street




                                                                                                           City                         State         ZIP Code




a. Debtor's website (URL)                     http://www.robertocavalli.com
                                                                       -- -
a. Type of debtor                                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             ❑ Partnership (excluding LLP)
                                             ❑ Other. Specify:



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Debtor        Art Fashion Corporation                                                             Case number wk.)


                                        A. Check one.
7. Describe debtor's business
                                        El Health Care Business (as defined in 11 U S.C. § 101(27A))
                                        U Single Asset Real Estate (as defined in 11 U.S C. § 101(51B))
                                             Railroad (as defined In 11 U S.C. § 101(44))


                                        CI
                                        0    Stockbroker (as dot ned In 11 U.S.C. § 101(53A))
                                        0    Commodity Broker (as defined In Ti U.S.C. § 101(6))
                                        0    Clearing Bank (as defined in 11 U S.C. § 781(3))
                                        2    None of the above


                                        B. Check all that apply.

                                        0    Tax-exempt entity (as described in 26 U S.C. § 501)
                                        0    Investment company, including hedge fund or pooled investment vehicle ias defined to 15 U S C.
                                             § 80a-3)
                                        0    Investment advisor (as defined In 15 U.S.C. § 80h-2(a)(11))


                                        C. NAICS (North American Industry Classft cation System) 4-digit code that best describes debtor. See
                                           hit')                    r-digit national-associai. u n -naics-codes
                                            4 4 8 1
                                           — — —

a. Under which chapter of the           Check one:
   Bankruptcy Code is the
   debtor filing?                       Ca Chapter 7
                                        0    Chapter 9
                                        1:1 Chapter 11. Check all that apply
                                                              O    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than 52,725,625 (amount subject to adjustment on
                                                                  410822 and every 3 years after that)
                                                              0    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) If the
                                                                  debtor Is a smalI business debtor, attach the most recent balance sheet statement
                                                                  of operations. cash-flow statement, and federal Income tax return or if all of these
                                                                  documents do not exist follow the procedure in 11 U.S C. § 1116(1)(B)

                                                              O A plan is being filed with this petition.

                                                              3 Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b)

                                                              O   The debtor is required to file periodic reports (for example, 10K and 1013) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934 File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bankruptcy under Chapter 11 (Official Form 201;0 with this form

                                                              O   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  t 2b-2.
                                        0    Chapter 12

9. Were prior bankruptcy cases           ❑ No
   filed by or against the debtor
   within the last 8 years?              0 Yes. District                                   When                    Case number
                                                                                                  MM DD / YYYY
    If more than 2 cases, attach a
    separate list.                                 District                                When                    Case number
                                                                                                  MM / DD /

to. Are any bankruptcy cases            la No
    pending or being filed by a
    business partner or an              0 Yes.     Debtor                                                          Relationship
    affiliate of the debtor?                       District                                                        When
    List all cases. If more than 1                                                                                                MM I DD 1YYYY
    attach a separate list.                        Case number, if known

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Debtor        Art Fashion Corporation                                                      case number (akrohni


it. Why is the case filed in this     Check all that apply
    district?
                                         Debtor has had its domicile, principal place of business. or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor's affiliate general partner, or partnership is pending in this district.


12. Does the debtor own or have       ❑ No
    possession of any real
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                       Why does the property need immediate attention? (Check all that apply )
    attention?
                                               ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                               ❑ It needs to be physically secured or protected from the weather.

                                               ❑   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                               ❑   Other



                                               Where is the property?
                                                                         Number          Street



                                                                         City                                             State       ZIP Code


                                               Is the property Insured?
                                               ❑ No
                                               ❑ Yes. Insurance agency

                                                        Contact name

                                                        Phone




IM         Statistical and administrative Information



13. Debtor's estimation of            Check one.
    available funds                   2 Funds will be available for distribution to unsecured creditors.
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors

                                      ❑ 1-49                           ❑ 1,000-5,000                              ❑ 25,001-50,000
14. Estimated number of
                                      ❑ 50-99                          ❑ 5,001-10,000                             ❑ 50,001-100,000
    creditors
                                      ❑ 100-199                        ❑ 10,001-25,000                            ❑ More than 100,000
                                        200-999

                                      ❑ $0150,000                      ❑ $1,000,001-510 million                   ❑   $500,000,001-51 billion
is. Estimated assets                  ❑ $50.0014100,000                ❑ $10,000,001-$50 million                  ❑   $1,000,000,001-$10 billion
                                      ❑ $100,001-$500,000              ❑ $50,000,001-$100 million                 ❑   $10,000,000,001-$50 billion
                                      ❑ $500,00141 million             ❑ $100,000,001-$500 million                ❑   More than $50 billion




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              Art Fashion Corporation                                                           Case number


                                           50.$50,000                          0 3i,000,001-$10 million                 0 5500,000,001-$1 billion
 is. Estimated liabilities
                                         0 350,001-5100,000                    t2510,000,001-550 million                ❑ 51,000,000,001-$10 billion
                                         0 5100,0014500,000                    ❑ $50,000,0011100 million                  $10,000,000,001-$50 billion
                                         0 5590,001-51 million                 D $100,000,001.$500 million              0 More than 550 billion




1111       Request for Relief, Declaration, and Signatures


 WARNING — Bankruptcy fraud Is a serious crime, Making a false statement in connection with a bankruptcy case can result in fines up to
           5500.000 or imprisonment for up to 20 years, or bath 18 U.S.C. §§ 152, 1341, 4519, and 3571


17, Declaration and signature of         a     The debtor requests relief in accordance with the chapter of title 11, United Slates Code, specified In this
    authorized representative of
                                               petition,
    debtor

                                         •     I have been authorized to file this petition on behalf of the debtor.

                                         ▪     I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                             declare under penalty of penury that the foregoing is true and correct,
                                                                0 104/20, 9
                                               Exe


                                         X             1-4.X.                                             Gian Giacomo Ferraris
                                               Stinalure of maim zed re esi)ntative of debtor            Printed name

                                               Titl;' President




                                                                                                                       04/04/2019
 18. Signature of attorney                X /s/ Joaquin M. C de Baca
                                                Signature of attorney for debtor                                       MM     / 00 / YYYY


                                               Joaquin M. C de Baca
                                               Printed name
                                               Mayer Brown LLP
                                               Finn name
                                                1221            Avenue of the Americas
                                               Number         Street
                                               New York                                                         NY             10020
                                               City                                                           state            ZIP Code

                                                212-506-2158                                                    jcdebaca©mayerbrown.com
                                               Contact phone                                                  Email address


                                                4834081                                                               NY
                                               Bar number                                                     State




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                  ART FASHION CORPORATION, a Delaware corporation


                          Minutes of a meeting of the board of directors
                   held telephonically on April 1, 2019 at 10:00 a.m., Eastern
                                             Time



       Pursuant to prior notice given to or waived by all board members, a meeting of the
Board of Directors (the "Board") of Art Fashion Corporation, a Delaware corporation (the
"Company"), was duly called and held by telephone conference at 10:00 a.m. Eastern
Daylight Time on April 1, 2019.

      The members of the Board in attendance at the telephonic meeting were: Gian
Giacomo Ferraris and Luigi Cantone. Also in attendance was Antonio Martinico.

        With all of the present members of the Board in attendance, a quorum was
constituted, and the meeting of the Board was convened and called to order.

         Gian Giacomo Ferraris served as Chairman of the meeting and called the meeting to
order.

I.       The Company's Chapter 7 Filing

         The Board of Directors and other individuals present discussed the following:

         (a)    Based on a prior presentation made by the Company's senior management and
                professional advisors, AlixPartners (the "Presentation"), the financial
                circumstances of the Company are such that the Company's revenues are
                insufficient to provide liquidity for the Company's short-term operations
                absent additional funding.

         (b)    Following the termination of marketing contributions from the Company's
                parent, Roberto Cavalli S.p.A. ("RC SpA"), the Company's liquidity has been
                further limited and the Company is no longer able to operate as a going
                concern.

         (c)    Although RC SpA has been actively seeking potential investors for its global
                business, including its U.S. business operated by the Company, it has been
                unable to obtain capital to maintain the operations of the Company.

         (d)    Due to severe liquidity constraints, the Company is unable to pay its debts,
                including ordinary operating expenses, as they come due.

         (e)    Based on the Presentation, including the informed opinion of the Company's
                senior management and professional advisors, given the financial
                circumstances of the Company, including RC SpA's termination of marketing
                contribution payments, the Company is unable to continue operating. It is
                therefore in the best interests of the Company, its creditors, and any other
                stakeholders of the Company for the Company to file a voluntary petition
                under Chapter 7 of the Bankruptcy Code.
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        (0        In order to fulfill the legal obligations of the Company, it is important to pay
                  certain payroll, tax, security, and other monetary obligations prior to
                  commencing a Chapter 7 case.

II.     The Payment Agreement with Icon Trade Services, LLC and Worldwide Luxury
        Group, LLC

        The Board of Directors and other individuals present further discussed the following:

                  (a)   Two of the Company's customers, Icon Trade Services, LLC and
                  Worldwide Luxury Group, LLC (collectively "Icon"), collectively owe the
                  Company approximately $1,072,000 on outstanding receivables.

                  (b)     As a result of efforts to collect upon such outstanding amount in
                  advance of the Company's Chapter 7 bankruptcy filing, Icon has offered
                  immediately to pay $200,000 of its outstanding balance owed to the Company
                  in exchange for the option to return certain merchandise to the Company
                  within a limited 60-day time period.

                  (c)    In connection with such discussions, the Company has made it clear to
                  Icon that it will not represent or warrant that any such agreement would be
                  binding on any Chapter 7 trustee appointed in any ensuing Chapter 7 case;

                  (d)     Former senior management of the Company also advised the Board of
                  Directors that agreeing to Icon's proposal will not disadvantage the Company
                  and its creditors even if the agreement should be binding on such a Chapter 7
                  trustee because Icon would be given credit at the wholesale price of any
                  returned goods and, in the informed judgment of such former senior
                  management, a Chapter 7 trustee, even in a liquidation scenario, should be
                  able to liquidate the goods for a net amount significantly in excess of the
                  wholesale price.

                  (e)    Based on the foregoing, the Board of Directors has been advised and it
                  reasonably appears that entering into the proposed agreement with Icon will
                  provide immediate additional liquidity to fund the monetary obligations
                  advisable to be paid prior to the commencement of any Chapter 7 case without
                  materially harming the overall economic position of the Company.

III.        Resolutions

        Following the foregoing discussion, Luigi Cantone motioned to approve the and adopt
        the Resolutions attached hereto as Exhibit A. Gian Giacomo Ferraris seconded the
        motion, and the Board unanimously approved the motion. Accordingly, the
        Resolutions attached hereto as Exhibit A were adopted by the Board and the
        Company.




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IV.   Adjournment of the Meeting

      There being no further business, the Chairman declared the meeting adjourned.




                    Gia G acomo Ferr ri , President and Chairman
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                                         EXHIBIT A

                                 RESOLUTIONS
                                    OF THE
                             BOARD OF DIRECTORS
                                      OF
                  ART FASHION CORPORATION, a Delaware corporation

                                  Dated as of April 1, 2019


Financial Distress & Chapter 7 Bankruptcy Filing:

       WHEREAS, the financial circumstances of the Company are such that the
Company's revenues are insufficient to provide adequate liquidity for the Company's short-
term operations absent additional funding; and

       WHEREAS, the Company's parent, Roberto Cavalli S.p.A., an Italian Society per
Azioni ("RC SpA"), is also experiencing significant financial distress; and

       WHEREAS, RC SpA and its stockholders have engaged in a months long process to
obtain additional capital to support the global operations of RC SpA and its affiliates,
including its business in the United States operated through the Company; and

       WHEREAS, RC SpA has been unsuccessful at obtaining capital sufficient to support
continued operations in the United States through the Company; and

        WHEREAS, RC SpA, as a result of its own financial condition, has suspended
payments made to the Company as marketing contributions, and is otherwise unable to
financially support the operations of the Company; and

     WHEREAS, the termination of the marketing contributions has worsened the
Company's financial distress; and

        WHEREAS, given the financial condition of the Company, it is in the best interests
of the Company, its creditors, and any other stakeholders of the Company for the Company to
terminate its operations and commence bankruptcy proceedings through the filing of a
voluntary petition under Chapter 7 of the Bankruptcy Code, 11 U,S.C. § 101 et seq. (a
"Chapter 7 Case"); and

        WHEREAS, in the judgment of the board of directors of the Company, it is in the
best interests of the Company, its creditors, and all other stakeholders of the Company for the
Company to provide for the payment of certain payroll, tax, security, and other obligations, as
described in more detail in a wind-down budget provided to the Company and its professional
advisors on March 29, 2019 by the former Treasurer of the Company, Michael Scheels (the
"Wind-Down Amounts") prior to the commencement of the Chapter 7 Case; and

        WHEREAS, Icon Trade Services, LLC and Worldwide Luxury Group, LLC
(collectively, "Icon") collectively owe the Company approximately $1,071,707.94 for
merchandise the Company sold to Icon on credit; and
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         WHEREAS, Icon has offered to immediately pay $200,000 of the amount owed to
the Company, which funds can be available to fund the Wind-Down Amounts, provided that
the Company agrees that, on or before May 30, 2019, if Icon has not yet sold any portion of
the remaining merchandise it purchased from the Company, Icon will have the option of
either (i) paying the remaining balance owed to the Company and/or (ii) returning some or all
of the unsold merchandise to the Company in exchange for a credit against the outstanding
balance owed in the amount of the wholesale price of the returned merchandise (the
"Payment Agreement"); and

        WHEREAS, as discussed during a teleconference held on March 31, 2019 among
Icon, the Company, and their professional advisors, both Icon and the Company understand
that, following the commencement of the Chapter 7 Case, the Company cannot represent and
warrant that the Payment Agreement will be binding upon the chapter 7 trustee appointed to
liquidate the Company's assets (the "Trustee"); and

        WHEREAS, based on their informed judgment derived from their experience and
expertise in the fashion industry, former senior management of the Company believe and are
of the opinion that, even if Icon returns merchandise to the Trustee during the Chapter 7
Case, the Trustee will be able to realize funds significantly in excess of the amount of the
credit given to Icon pursuant to the Payment Agreement through one or more sales of the
returned merchandise and, accordingly, that entering into the Payment Agreement is not
likely to prejudice the interests, but is instead in the best interests, of the Company and its
creditors; and

        WHEREAS, each of the officers of the Company, and any agents of the Company so
designated by the directors or officers of the Company (collectively, the "Authorized
Officers") should be empowered to continue to wind down the Company's business and to
take any steps necessary to commence a Chapter 7 Case at the earliest date practicable after
the payment of the final payroll in the United States Bankruptcy Court for the Southern
District of New York.

     NOW, THEREFORE, BE IT RESOLVED, that the board of directors of the
Company hereby authorizes the commencement of a Chapter 7 Case by the Company; and be
it

        FURTHER RESOLVED, that the Authorized Officers are hereby authorized and
directed to commence a Chapter 7 Case on behalf of the Company at the earliest date
practicable after the payment of the final payroll in the United States Bankruptcy Court for
the Southern District of New York, and to take any acts on behalf of the Company that are
necessary or proper in conjunction with the Chapter 7 Case; and be it

        FURTHER RESOLVED, that the Authorized Officers are hereby authorized and
directed to enter into the Payment Agreement with Icon substantially in the form of Annex A
hereto; and be it

        FURTHER RESOLVED, that any and all acts and doings of the Authorized Officers
on behalf of the Company with respect to any and all of the foregoing, whether heretofore or
hereafter taken or done, which were or are intended to be in conformity with the purposes and
intent of these resolutions, including, without limitation, the closing of the Company's stores,
the payment of the Wind-Down Amounts, commencing the Chapter 7 Case, and complying
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with the related requirements of the U.S. Bankruptcy Code, shall be in all respects ratified,
approved and confirmed as acts of the Company.




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                   Annex A — Payment Agreement with Icon
                              [to be attached]




                                                                    (hi
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                             [Intentionally Omitted]
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 Fill in this Information to ideiititytho'case and this filing:


 Debtor Name    Art Fashion Corporation
 United States Elankniptcy Court for the: Southern                    District of New York
                                                                                (Staten
 Case number Weer/ow):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                  12/15

An Individual who is authorized to act on behalf of a non-Individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not Included in the document,
and any amendments of those documents. This Form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING — Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud In
connection with a bankruptcy case can result in fines up to 5500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor In this case.
        I have examined the Information In the documents checked below and I have a reasonable belief that the information is true and correct


        U      Schedule Ala. Assets—Real and Personal Property (Official Form 206A/B)

        ▪      Schedule D Creditors Who Have Claims Secured by Property (Official Form 206D)

        El     Schedule &F: Creditors Who Have Unsecured Claims (Official Form 206EJF)

        CI     Schedule G. Executory Contracts and Unexpired Leases (Official Form 206G)

        CI     Schedule H: Codebfors (Official Form 206H)

        U      Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

        CI     Amended Schedule

        ❑      Chapter 11 or Chapter 9 Cases List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

        Ea Other document That requires a declaration
                                                            Creditor Mailing Matrix & Corporate Ownership Statement



        I declare under penalty of perjury that the foregoing Is true           rre


        Executed on
                         04/04/2019                        x            t
                         AM/ DO 1 YYYY                                MOB d e         ual grimy on behalf d   debase
                                                                  t

                                                                  Gian Giacomo Ferraris
                                                                Printed name

                                                                  President
                                                                Position or relationship to debtor



Official Form 202                          Declaration Under Penalty of Perjury for Non-individual Debtors
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MAYER BROWN LLP
1221 Avenue of the Americas
Tel. (212) 506-2500
Fax (212) 262-1910
Joaquin M. C de Baca

Counsel for Art Fashion Corporation

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


                                                           Chapter 7
In re:
                                                           Case No. 19-
ART FASHION CORPORATION,

                        Debtor.


    CORPORATE OWNERSHIP STATEMENT OF ART FASHION CORPORATION


         Mayer Brown LLP, as counsel to Art Fashion Corporation, a Delaware corporation (the

“Debtor”), hereby files this Corporate Ownership Statement pursuant to Rule 1007(a)(1) of the

Federal Rules of Bankruptcy Procedure and Rule 1007-3 of the Local Bankruptcy Rules for the

Southern District of New York.

         The following is a list of all corporations that directly or indirectly own 10% or more of

any class of the equity interests in the Debtor:

        Roberto Cavalli S.p.A., an Italian Società per Azioni

        Varenne S.p.A., an Italian Società per Azioni

        Varenne 2 S.p.A., an Italian Società per Azioni

        Varenne 3 S.p.A., an Italian Società per Azioni

        L-GAM Advisers LLP, a U.K. limited liability partnership

        CTF Development Inc., a Delaware corporation



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        Clessidra SGR S.p.A., an Italian Società per Azioni

         The Debtor does not directly or indirectly own 10% or more of any class of equity

interests of either a corporation whose securities are publicly traded or any general or limited

partnership or joint venture.



Dated:          New York, New York
                April 4, 2019

                                                      /s/ Joaquin M. C de Baca
                                                     Joaquin M. C de Baca
                                                     Mayer Brown LLP
                                                     1221 Avenue of the Americas
                                                     Tel. (212) 506-2500
                                                     Fax (212) 262-1910




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  B2030 (Form 2030) (12/15)




                                 United States Bankruptcy Court
                                       Southern          District Of     New York


  In re

  Art Fashion Corporation                                                    Case No.

  Debtor                                                                     Chapter 7

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

   I.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
        named debtor(s) and that compensation paid to me within one year before the filing of the petition in
        bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
        contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept                                       $140,000 (held as advance payment retainer)

        Prior to the filing of this statement I have received                              $140,000*

        Balance Due                                                                        $0

   2.   The source of the compensation paid to me was:

             CI Debtor                   0   Other (specify)

   3.   The source of compensation to be paid to me is:

             E Debtor                 0 Other (specify)

   4.        E I have not agreed to share the above-disclosed compensation with any other person unless they are
             members and associates of my law firm.

             0 I have agreed to share the above-disclosed compensation with a other person or persons who are not
             members or associates of my law firm. A copy of the agreement, together with a list of the names of the
             people sharing in the compensation, is attached.

   5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
        case, including:

        a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
             file a petition in bankruptcy;

        b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.   Representation of the debtor at the meeting of creditors and-oenftemabien-beftring, and any adjourned
             hearings thereof;




* Retainer was received on March 20, 2019 and applied on April 3, 2019 against $97,684.50 in fees for services provided through April
3, 2019 and $42,315.50 against anticipated fees for the period after April 3, 2019 through the completion of activities related to the
completion of schedules and statements of affairs and the meeting of creditors.
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B2030 (Form 2030) (12/15)

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6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:

     Any non-bankruptcy related services, including any tax advice.




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           April 4, 2019
           Date                                     Signature qf      •ney .051dirII
                                                                                  ;         60te

                                                           Mayer Brown LLP
                                                    Name of lawfirm
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                              Creditor Mailing List
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YOVANNY ACOSTA
1740 GRAND AVE, APT 405
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5320 CHERYL AVE.
LA CRESCENTA, CA 91214

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RAUL AMAYA‐COBIAN
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LAS VEGAS, NV 89115

RALPH ANZALDUA JR.
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BANNING, CA 92220

REBECCA BARRETT
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PHILIPSTOWN, NY 10524

ADRIANA BRATTON
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BEAUMONT, CA 92223

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BROOKLYN, NY 11211

WAIKEI CHUNG
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ASTORIA, NY 11106

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POUGHQUAG, NY 12570

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LAS VEGAS, NV 89139

JOCELYN HORWITT
9568 NW 9TH COURT
PLANTATION, FL 33324
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BADIA A SETTIMO, FI 50010 ITALY
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FUNARO & CO. P.C.
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NORTHPARK PARTNERS, LP
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COROL STREAM, IL 60197

UPS
PO BOX 7247-0244
PHILADELPHIA, PA 19170

FASHION LOGISTICS INC
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HASBROUCK, NJ 07604

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DGA SECURITY SYSTEMS, INC.
P.O. BOX 1920
NEW YORK, NY 10101
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LIVERPOOL CARTING CO.,
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FENN TERMITE&PEST CONTROL,INC.
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BUENA PARK, CA 90620

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MIAMI, FL 33142

DIAL-A-BUG CONTROL, INC
548 CHERRY LANE
FLORAL PARK, NY 11001

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P.O. BOX 740407
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J'S CLEANERS, INC
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SHOE LAB
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PARSIPPANY, NJ 07054

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P.O.BOX 300
ROSEMEAD, CA 91772
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STAPLES BUSINESS ADVANTAGE
PO BOX 660409
DALLAS, TX 75266

UPS SUPPLY CHAIN SOLUTIONS INC.
28013 NETWORK PLACE
CHICAGO, IL 60673

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ALBANY, NY 12212

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PITTSBURGH, PA 15250

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BEVERLY HILLS, CA 90210

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P.O. BOX 223085
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KHAJAG DIKIJIAN D/B/A BEJEWELED
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STATE OF NEVADA - SALES/USE
PHOENIX, NV 85072

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157N. ROBERTSON BOULEVARD
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FPL
GENERAL MAIL FACILITY
MIAMI, FL 33188

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BOARD OF EQUALIZATION
P.O. BOX 942879
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BRESCIA, BS 25122 ITALY

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LOS ANGELES, CA 90007
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6442 INDUSTRY WAY
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LAVAL, QCH7T2S4, CANADA

COVERALL OF DALLAS/FT WORTH
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SI, ITALY

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